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                      IN THE UNITED STATES DISTRICT COURT                  "aijgUSTA DiV.
                    FOR THE SOUTHERN DISTRICT OF GEORGIA^CL OCT 2^ Pil 3- 27

                                  AUGUSTA DIVISION                    CLERK
                                                                           SO.D
DEMETRIUS KERON FORD,

              Petitioner,

       V.                                                CV 115-034
                                                         (Formerly CR 107-167)
UNITED STATES OF AMERICA,

              Respondent.


                                        ORDER



       After a careful, de novo review of the file, the Court concurs in part with the

Magistrate Judge's Report and Recommendation ("R&R"). to which objections have been

filed. (Doc. no. 9.) The Magistrate Judge recommended denial of Petitioner's § 2255

motion without an evidentiaty' hearing because Petitioner's motion was untimely and because

Petitioner procedurally defaulted his claims. (Doc. no. 6.)         Petitioner raises eleven

objections, restating numerous arguments the Magistrate Judge already addressed at length in

the R&R, and accordingly, only a few objections bear further discussion. Three merit

discussion here.


       First, the Magistrate Judge determined Petitioner could not show actual innocence

needed to overcome his procedurally defaulted claim his plea was involuntaiy and

unintelligent because Petitioner did not object to statements within the PSI demonstrating his

guilt. (Doc. no. 26, p. 13.) Specifically, the Magistrate Judge cited a statement from the PSI

that Petitioner knew his co-defendant was carrying a firearm at the time of the Dodge
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